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     1st One Hundred Holdings, LLC, and
13
     Battle Born Investments Company, LLC
14

15                                 UNITED STATES DISTRICT COURT
16                                NORTHERN DISTRICT OF CALIFORNIA
17                                    SAN FRANCISCO DIVISION
18
     UNITED STATES OF AMERICA,                         Case No. 20-7811-RS
19
                     Plaintiff,                        CLAIMANTS’ ADMINISTRATIVE
20                                                     MOTION TO FILE UNDER SEAL
             v.
21

22   Approximately 69,370 Bitcoin (BTC),               Judge: Hon. Richard Seeborg
     Bitcoin Gold (BTG), Bitcoin SV (BSV), and         Courtroom: 3
23   Bitcoin Cash (BCH) seized from                    Case Filed: November 5, 2020
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hb                  FAC Filed: November 20, 2020
24                                                     Trial Date:   TBD
     hx,
25                 Defendant.
     First 100, LLC, 1st One Hundred Holdings,
26
     LLC, and Battle Born Investments
27   Company, LLC

28                   Claimants.

      CLAIMANTS’ ADMINISTRATIVE MOTION                                       Case No. 20-7811-RS
      TO FILE UNDER SEAL                         -1-
     121396850.v1
                Case 3:20-cv-07811-RS Document 64 Filed 04/05/21 Page 2 of 3



 1           Pursuant to Civil Local Rules 79-5 and 7-1, Claimants First 100, LLC, 1st One Hundred
 2   Holdings, LLC, and Battle Born Investments Company, LLC hereby submit this Administrative
 3   Motion to File Under Seal of their respective Verified Answers in the above captioned matter.
 4   Claimants respectfully requests that their answers be filed under seal as the content thereof relate
 5   to and may reveal the identity of the “Individual X” referenced in the First Amended Complaint
 6   filed by the United State Attorney’s Office in this action.
 7
      Dated: April 5, 2021                          FOX ROTHSCHILD LLP
 8
                                                    /S/ Jaemin Chang
 9                                            By:
                                                    JAEMIN CHANG
10                                                  JEFFREY NICHOLAS (Pro hac vice to be filed)
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      CLAIMANTS’ ADMINISTRATIVE MOTION                                               Case No. 20-7811-RS
      TO FILE UNDER SEAL                              -2-
     121396850.v1
                Case 3:20-cv-07811-RS Document 64 Filed 04/05/21 Page 3 of 3



 1                                     CERTIFICATE OF SERVICE
 2           I hereby certify that a true and correct copy of the foregoing document was filed with the
 3   Court and electronically served through the CM-ECF system which will send a notification of
 4   such filing to all counsel of record.
 5
      Dated: April 5, 2021                          FOX ROTHSCHILD LLP
 6
                                                    /S/ Jaemin Chang
 7                                           By:
                                                   JAEMIN CHANG
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      CLAIMANTS’ ADMINISTRATIVE MOTION                                              Case No. 20-7811-RS
      TO FILE UNDER SEAL                             -3-
     121396850.v1
